                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT
                              EASTERN DIVISION

 UNITED STATES OF AMERICA,

                Plaintiff,                                  No. 17-CR-1045
 vs.
                                                                ORDER
 ALVIN HARRISON,
                Defendant.
                              ____________________________

                                   I.   INTRODUCTION
        This matter is before me on a Report and Recommendation (R&R) (Doc. No. 39)
by Chief United States Magistrate Judge C.J. Williams on defendant Alvin Harrison’s
motion (Doc. No. 31) for severance of defendants. Judge Williams recommends that I
deny the motion. Neither party has filed an objection to the R&R. The time for filing
an objection has now expired. The background is set forth in the R&R and repeated
herein only to the extent necessary. See Doc. No. 39 at 1-2.


                             II.    APPLICABLE STANDARDS
        A district judge must review a magistrate judge's R&R under the following
standards:
        Within fourteen days after being served with a copy, any party may serve
        and file written objections to such proposed findings and recommendations
        as provided by rules of court. A judge of the court shall make a de novo
        determination of those portions of the report or specified proposed findings
        or recommendations to which objection is made. A judge of the court may
        accept, reject, or modify, in whole or in part, the findings or
        recommendations made by the magistrate judge. The judge may also receive
        further evidence or recommit the matter to the magistrate judge with
        instructions.




       Case 2:17-cr-01045-LTS-CJW       Document 51     Filed 02/23/18    Page 1 of 4
28 U.S.C. § 636(b)(1); see also Fed. R. Civ. P. 72(b). Thus, when a party objects to
any portion of an R&R, the district judge must undertake a de novo review of that portion.
Any portions of an R&R to which no objections have been made must be reviewed under
at least a “clearly erroneous” standard. See, e.g., Grinder v. Gammon, 73 F.3d 793, 795
(8th Cir. 1996) (noting that when no objections are filed “[the district court judge] would
only have to review the findings of the magistrate judge for clear error”). As the Supreme
Court has explained, “[a] finding is ‘clearly erroneous’ when although there is evidence
to support it, the reviewing court on the entire evidence is left with the definite and firm
conviction that a mistake has been committed.” Anderson v. City of Bessemer City, 470
U.S. 564, 573-74 (1985) (quoting United States v. U.S. Gypsum Co., 333 U.S. 364, 395
(1948)). However, a district judge may elect to review an R&R under a more-exacting
standard even if no objections are filed:
       Any party that desires plenary consideration by the Article III judge of any
       issue need only ask. Moreover, while the statute does not require the judge
       to review an issue de novo if no objections are filed, it does not preclude
       further review by the district judge, sua sponte or at the request of a party,
       under a de novo or any other standard.
Thomas v. Arn, 474 U.S. 140, 150 (1985).

                                    III.    THE R&R
       Judge Williams noted that Harrison and codefendant DeCarlos Matlock were
charged in a three-count indictment on September 26, 2017. Doc. No. 39 at 1 (citing
Doc. No. 3). Each defendant is charged with one count of sex trafficking of children by
force, fraud, or coercion between June 1, 2016, and January 11, 2017, and both are
charged with conspiracy to commit sex trafficking of children by force, fraud or coercion
during that same time period. Id. Harrison sought severance based on an expectation
that the Government would introduce evidence of each defendant’s statements at a joint
trial that could be prejudicial to the other defendant. Id.at 2. Harrison did not identify
any specific statements in his motion.


                                             2
    Case 2:17-cr-01045-LTS-CJW           Document 51     Filed 02/23/18    Page 2 of 4
       In its resistance, the Government represented that “[a]t present, the statements the
government intends to introduce as evidence against the defendants are self-inculpatory
in nature.” Id. The Government explained this means “statements made by Mr. Matlock
incriminate Mr. Matlock and do not mention or directly incriminate Mr. Harrison on
their face. Likewise, statements made by Mr. Harrison incriminate Mr. Harrison, and
do not mention or directly inculpate Mr. Matlock on their face.” Id. (citing Doc. No.
36-1 at 4).
       Judge Williams concluded that severance is not necessary under Bruton v. United
States, 391 U.S. 123 (1968), because the Government does not intend to introduce
evidence of statements by one defendant that would inculpate another defendant. Id. at
3. Moreover, the Eighth Circuit has held that when a defendant’s pretrial statement “does
not refer directly to the codefendant himself, and becomes incriminating only in
combination with other evidence, the Constitution permits the normal presumption that a
jury will follow an instruction to disregard the [pretrial statement] when considering a
verdict for the codefendant.” Id. (quoting United States v. Gayekpar, 678 F.3d 629, 637
(8th Cir. 2012)). Because Harrison did not reference a specific statement by Matlock
that would incriminate Harrison, and the Government represented that it does not intend
to introduce any such statements, Judge Williams concluded that Harrison failed to
demonstrate that a joint trial would violate his constitutional rights.      As such, he
recommends I deny Harrison’s motion for severance of defendants.


                                  IV.    DISCUSSION
       Because the parties did not object to the R&R, I have reviewed it for clear error.
Judge Williams applied the appropriate legal standards in concluding that the
Government’s intended evidence of each defendant’s statements that are self-inculpatory,
rather than inculpatory against his codefendant, do not present a constitutional violation
under Bruton. I find no error—clear or otherwise—in Judge Williams' recommendation.
As such, I adopt the R&R in its entirety.
                                            3
    Case 2:17-cr-01045-LTS-CJW          Document 51     Filed 02/23/18    Page 3 of 4
                                  V.      CONCLUSION

      For the reasons set forth herein:

      1.        I accept Judge Williams’ report and recommendation (Doc. No. 39) without
modification.
      2.        Pursuant to Judge Williams’ recommendation, Harrison’s motion (Doc.
No. 31) for severance of defendants is denied.


      IT IS SO ORDERED.
      DATED this 23rd day of February, 2018.




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                                          Leonard T. Strand, Chief Judge




                                            4
    Case 2:17-cr-01045-LTS-CJW         Document 51     Filed 02/23/18   Page 4 of 4
